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186. By virtue of these violations of 18 U.S.C. § 1962(c), Defendants are jointly and
severally liable to Plaintiff and the Class for three times the damages Plaintiff and the Class have
sustained, plus the cost of this suit, including reasonable attorneys’ fees.

FOURTH CAUSE OF ACTION
Violations of 18 U.S.C. § 1962(d) by Conspiring to Violate 18 U.S.C. § 1962(c)

187. Plaintiff incorporates by reference all preceding paragraphs as if fully set forth
herein.

188. Section 1962(d) of the RICO staiute provides that it "shall be unlawful for any
person to conspire lo violate any of the provisions of subsection (a); (b) or (c) of this section,”

189. Defendants have violated § 1962(d) by conspiring to violate 18 U.S.C, § 1962(c).
The object of this conspiracy was to conduct or participate in, directly or indirectly, the conduct
of the affairs of the § 1962(c) Enterprises descnbed above through a pattern of rackeleening
activity.

190. As detailed above, Defendants’ co-conspirators have engaged in numerous overt
and predicate fraudulent racketeering acts in furtherance of the conspiracy, including maternal
misrepresentations and omissions designed to defraud Plaintiff and members of the Class.

191, The nature of the above described Defendants’ co-conspirators’ acts, material
misrcpresentations, and omissions in furtherance of the conspiracy gives rise to an inference that
they not only agrecd to the objective of an 18 U.S.C, § 1962(d) violation of RICO by conspiring
to violate 18 U.S.C. § 1962(c}, but they were aware that their ongoing fraudulent and
extortionate acts have been and are part of an overall pattern of racketeering activity.

192. Asa direct and proximate result of Defendants’ overt acts and predicate acts in
furtherance of violating 18 U.S.C. § 1962(d) by conspiring to violate 18 U.S.C. § 1962(¢),
Plaintiff and members of the Class have heen and are continuing to be injured in their business or
property as sct forth more fully above.

193, Defendants have sought to and have engaged in the commission of overt acts,

including the folowing unlawful racketecring predicate acts:

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(a) Multiple instances of mail and wire fraud violations of 18 U.S.C. §§ 1341
and 1342;
(b) Multiple instances of mail fraud violations of 18 U.S.C. §§ 134] and
1346; and
(c) Multiple instances of wire fraud violations of 18 U.S.C. §§ 1343 and 1346.
194. Defendants’ violations of the above federal laws and the effects thereof, detailed
above, are continuing and will continue unless injunctive relicf prohibiting Defendants’ illegal
acts constituting a pattern of racketecring activity is imposed by the Court.

FIFTH CAUSE OF ACTION
Common Law Fraud

195. Plaintiff incorporates by reference alt preceding paragraphs as if fully set forth
herein.

196. Defendants have repeatedly made knowing misrepresentations and concealed
fucts to Plaintiff, the Class and others concerning the medical safety, efficacy and necessily of
Neurontin for off-label uses, for which claims were submitted to Plaintiff and the Class to pay
for Neurontin to treat non-FDA approved medical conditions.

197. These representations were maternally false in that Neurontin has no medical
necessity other than for its FDA-approved uses.

198. These representations were materially false in that they represented that the
submitted claims were to pay for FDA-approved uses of Neurontin when in fact they were to pay
for off-label uses, causing Plaintiff and the Class to unwittingly pay for Neurontin in violation of
their healthcare policies.

199, Plaintiff and the members of the Class reasonably relied upon the veracity of the
Defendants’ representations regarding the satety, efficacy and necessity of Neurontin for off-
label uses.

200. Plaintiff and the members of the Class reasonably relied upon the veracity of the

Neurontin claims submitted to pay for non-FDA approved uses.

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201. Defendants knew that the scientifically unsupported studics, publications and
representations were being relied upon by physicians, Plaintiff and the Class for the purpose of
prescribing or paying claims for Neurontin to treat such off-label conditions for which the drug is
not scientifically proven to be safe or medically efficacious.

202. Defendants knew that the Neurontin claims concealing the off-label purposes for
which they were being submitted were being relied upon by Plaintiff and the Class for the
purpose of determining whether to pay for such claims in accordance with their policies.

203. Plaintiff and the Class suffered damage in the form of payments for Neurontin to
cover off-label uses and to cover conditions for which Neurontin was not safe or medically
efficacious.

204. Plaintiff and the members of the Class are therefore entitled to restitution of their
payments for Neurontin to treat off-label uses and an award of compensatory damages in an

amount to be determined at tral.

SIXTH CAUSE OF ACTION
Violations of the Consumer Protection Statutes of the 50 States

205. Plaintiff incorporates by reference all preceding paragraphs as if fully sct forth
herein.

206. Defendants’ actions, as complained of herein, constitute unfair competition of
unfair, unconscionable, deceptive or fraudulent acts or practices in violation of various state
consumer protection statutes listed:

(a) Defendants caused third parties to publish and make factual
representations and statements designed to promote Neurontin “off-label” use that were false,
misleading and/or deceptive;

(b} Defendants unfairly and deceptively sold Neurontin to the public based
upon statements made by a third party that Defendants hired or improperly influenced, that were

deceptive;

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{c) Defendants omitted material information known to them that would have
disclosed materially adverse facts to doctors in order to induce doctors to prescribe Neurontin;

(d) Defendants knew that published studies promoting Neurontin for non-
approved users lacked the scientific integrity that was expected of such studies and acted to
conceal adverse studies and a balanced statement of the facts;

(c) Defendants sent to doctors promotional literature regarding “off-label”
uses of Neurontin that were [alse and misleading and were sent in violation of applicable state
and federal law:

(f} Defendants distributed false and misleading information to doctors for the
purpose of causing those doctors to use Neurontin for “off-label” uses and to deceive members
of the public into belicving that such use was appropriate;

(yg) Defendants’ use of grants or other forms of compensation used to
influence doctors to author “studies” thal were not scientifically supported but which showed
favorable results using Neurontin, was an unfair and fraudulent practice;

(h) The payment to dociors, honorariums, consultant fees and the like, all for
the purpose of encouraging the “off-label” use of Neurontin, was an unfair practice.

(i) Defendants embarked on a marketing scheme that was mn violation of state
and federal laws with the purpose to deecive the public;

(j) Detendants falsely and deceptively marketed Neurontin for uses for which
no valid scicntific data existed: and

(k) Defendants’ conduct violated FDAMA, 21 U.S.A, § 360aaa ef seq.
because Defendants did not seek FDA approval for the majority of “off-label” uses Neurontin
was promoted for; the materials were not provided to the FDA prior to their use; the materials
were not peer-reviewed or qualified reference publications, and Defendants did not provide the
FDA with all reports they possess on safety and efficacy.

207. ‘The promotional activities described above violate laws prohibiting promotion of

off-label uses, and in particular the studies distributed by defendants’ sales employees were false

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and/or misleading and failed to disclose that the studies were not dependently produced. And,
the above conduct violates anti-kickback regulations, 42 U.S.C. § 1320A-7 and 42 CFR.
§ 1001.
208, Defendants have violated the consumer protection statutes of any and all of the
fitty states as follows:
(a) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Ala. Code § 8-19-1, e¢ seq.;
(b) Defendants have cngaged in unfair competition or unfair or deceptive acts
or practices in violation of Alaska Stat. Code § 45.50.47], ef seq.;
(c} Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Ariz. Rev. Stat. § 44-1522, ef seq.;
(d) Defendants have engaged in untuir competition or unfair or deceptive acts
or practices in violation of Ark. Code § 4-88-101, ef seq.;
(e) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Cal. Bus. & Prof. Code § 17200, et seq;
(f) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices or have made (alse representations in violation of Colo. Rev. Stat. § 6-1-105,
el seq.;
(2) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Conn. Gen, Stat. § 42-110b, ef seq.;
(h) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of 6 Del. Code § 2511, ef seq.;
(i) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices or made false representations in violation of D.C. Code § 28-3901, et seq.;
{j) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Hla. Stat. § 501.201, ef seg.;

{k) Defendanis have cngaged in unfair competition or unfair or deceptive acts

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or practices in violation of Ga. Stat. § 10-1-392, ef seg.;

(1) Defendants have cngaged in unfair competition or unfair or deceptive acts
or practices in violation of Haw. Rev. Stat. § 480, ef seq.;

(m) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Tdaho Code § 48-601, et seq.;

(n} Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of 815 ILCS § 5305/1, et seq.;

(9) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Ind. Code Ann. § 24-5-0.5.1, ef seq.;

(p) Defendants have engaged im unfair compctition or unfair or deceptive acts
or practices in violation of lowa Code § 714.1b, ef seq.;

(q) Delendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Kan. Stat. § 50-623, ef seg.;

(r) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in vielation of Ky. Rev. Stat. § 367.110, et seq.;

(s) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of La. Rev. Stat. § 31:1401, et seq.;

(t} Defendants have cngaged in unfair competition or unfair or deceplive acts
of practices in violation of 5 Me. Rev. Stat. § 207, ef seq.;

(u) Defendants have cngaped in unfair competition or unfair or deceptive acts
oT practices m violation of Md. Com. Law Code § 13-101, et seq.;

(v) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Mass. Gen. L. Ch. 93A, et seq.;

(w) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Mich, Stat. § 445,901, et seg.;

(x) Defendants have engaged in unfair competition or untair or deceptive acts

of practices in violation of Minn, Stat. § 325F.67, ef seq.:

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(y) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Miss, Code Ann. § 75-24-1, et seq.;

(4} Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Vernon’s Mo. Rev. Stat. § 407.010, ef seq.;

(aa) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Mont. Code § 30-14-101, et seq.;

(bb) Defendants have engaged in unfair competition or unfair or deceptive acts
OY practices in violation of Neh. Rev. Stat. § 59-1601, ef seq.;

(cc) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Nev. Rev. Stat. § 598.0903, ef seq.;

(dd) Defendants have cngaged in unfair competition or unfair or deceptive acts
of practices in violation of N.H. Rev, Stat. § 358-A:1, ef seq.;

(ee) Defendants have cngaged in unfair competition or unfair, unconscionable
or deceptive acts or practices in violation of N.J. Stat. Ann. $ 56:8-1, ef seq.;

(ff) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of N.M. Stat. Ann. § 37-12-1 ef seq.;

(gz) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.;

(hh) Defendants have engaged in unfair competition or unfair or deceptive acts
oT practices in violation of N.C. Gen, Stat. § 75-1.1, ef seq.

(ii) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of N.D. Cent. Code § 51-15-01, et seg.;

(qj) Delendants have engaged in unfair competition or untair or deceptive acts
or practices in violation of Ohio Rev. Stat. § 1345.01, et seq.;

(kk) Defendants have engaged im unfair competition or unfair or deceptive acts
or praciices or made [alse representations in violation of Okla, Stat. tit. 15 § 741, et seq.;

(Ql) Defendants have engaged in unfair competition or unfair or deceptive acts

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or practices in violation of Or. Rev. Stat. § 646.605, et seg.;

(mm) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of 73 Pa, Stat. § 201-1, ef seq.;

(an) ‘Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of R.J. Gen, Laws. § 6-13.1-1, e¢ seg.;

(oo) Defendants have engaged in unfair competition or unfair or deceptive acts
Or practices in viglation of 8.C. Code Laws § 39-35-10, et seq.;

(pp) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of 8.D. Code Laws § 37-24-1; et seq.;

(qq) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in Violation of Tenn. Code § 47-18-101, et seq.;

(rr) Defendants have cneaged in unfair competition or unfair or deceptive or
practices in violation of Tex. Bus, & Com. Code § 17.41, ef seq.;

(ss) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Utah Code Ann. § 13-1 I-1, et seq.;

(tt) Defendants have engaged in unfair competition or unfair or deceptive acts
of practices in violation of Vt. Stat, Ann. tit. 9, § 245 1, ef sey.:

(uu) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Va. Code § 59.1-196, et seq.,

(vv) Defendants have engaged in unfair competition or unfair, deceptive or
fraudulent acts or practices in violation of Wash. Rev. Code. § 19.86.010, ef seq;

(ww) Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of W. Va. Code § 46A-6-101 , ef seq;

{xx} Defendants have engaged in unfair competition or unfair or deceptive acts
or practices in violation of Wis. Stat. § 100.20, ef seq.; and

(vy) Defendants have engaged in unfair competition or unfair or deceptive acts

or practices in violation of Wyo. Stat. § 40-12-100, ef seq.

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209. As adirect and proximate result of Defendants’ unfair methods of competition
and unfair or deceptive acts or practices, Plaintiff and the Class have suffered actual economic
damage by paying for Neurontin to treat conditions for which the drug is nol FDA approved and
is not medically necessary.

SEVENTH CAUSE OF ACTION
Restitntion/Disgorgement for Unjust Enrichment

210.  Plaintiffincorporates by reference all preceding paragraphs as if fully set forth
herein.

211. As the intended and expected result of their conscious wrongdoing as set forth in
this Complaint, Defendants have profited and benefited from the payment of claims for
Neurontin by Plaintiff and members of the Class to treat conditions for which the drug is not
FDA-approved,

212. Defendants have voluntanly accepted and retained these profits and benefits,
derived from Plaintiff and the Class, with full knowledge and awareness that, as a result of
Defendants’ fraud and other conscious and intentional wrongdoing, Plaintiff and the Class paid
for Neurontin when they otherwise would not have but for Defendants’ improper actions.

213. By virtue of the conscious wrongdoing alleged in this Complaint, Defendants
have been unjustly ennched alt the cxpense of Plaintiff and the Class, who are entitled in equily
to seek the disgorgement and restitution of Defendants’ wrongful profits, revenues and benefits,
to the extent, and in the amount deemed appropriate by the Court; and such other relief as the

Court deems just and proper to remedy Defendants’ unjust enrichment.

Vl = DEMAND FOR RELIEF
WHEREFORE, Plaintiff demands judgment against Defendants in cach claim for relief,
jointly and severally, as follows:
(a) On Plamtiff's RICO claims, three times the damages Plaintiff and the
Class have sustained as a result of Defendants’ conduct, such amount to be determined at

trial, plus Plaintiff's costs in this suit, including reasonable attomeys” fees;

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(b) On Plaintiff’s claims for Common Law Fraud, damages in the amount of
Plaintiff's and the Class’s payment for Neurontin to treat conditions for which the drug
was not approved by the FDA for which il was nol medically necessary, such amounts to
be determined at trial, plus Plaintiff's costs in this suit, meluding altomeys’ fees;

(c) On Plaintiff's claims under the Consumer Protection Statutes of all titty
states, all measures of damages allowable under such statutes, such amount to be
determined at trial, plus Plaintiff's costs in this suit, including reasonable atlomeys’ fees;

(d)} On Plainulfs claims for Unjust Enrichment, recovery in the amount of
Plaintiff's and the Class’s payment for Neurontin to treat conditions for which the drug
was not approved by the FDA and for which it was not medically necessary, such
amounts to be determined at trial, plus Plaintiff's costs in this suit, including attorneys’
fees;

(c) Awarding Plaintiff and the Class other appropriate equitable relief;

(f) Awarding Plaintiffits cosis and expenses in this litigation, including
reasonable attomeys’ fees and expert fees; and

(x) Awarding Plaintiff and the Class such other and farther relicf as may be
just and proper under the circumstances.

VII. DEMAND FOR A JURY TRIAL
Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury on all
issues so triable.

Dated: May/ , 2004 Respectfully submittg

t L
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